Case 9:17-cv-81132-BB Document 1 Entered on FLSD Docket 10/09/2017 Page 1 of 11



                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA


 RAYMOND LOYCANO                                                CASE NO.:


        Plaintiff,

 vs.

 WELLS FARGO BANK, N.A.

 A Foreign Corporation.

 ___________________________________/


                                  COMPLAINT FOR DAMAGES

        Plaintiff Raymond Loycano, by and through undersigned counsel, sues Defendant Wells

 Fargo Bank, N.A. and alleges:

                       I. THE PARTIES, JURISDICTION, AND VENUE

        1.      Plaintiff Raymond Loycano is a natural person, over the age of 21. He is a citizen

 of the State of Florida and currently resides in Broward County, Florida. At the time of the

 events giving rise to this claim he resided in Palm Beach County, Florida.

        2.      Defendant Wells Fargo Bank, N.A. is engaged in banking and mortgage servicing

 activities throughout the United States, including the territorial jurisdiction of this Court.

        3.      Plaintiff asserts claims against Wells Fargo arising under the Real Estate

 Settlement Procedures Act (RESPA), 12 U.S.C. § 2605 and related claims arising under Florida

 law that are based upon the same transactions and occurrences that give rise to the RESPA claim.

 Accordingly, this Court has federal question jurisdiction to adjudicate the RESPA claim under 28

 USC § 1331. Plaintiff also bring common law claims for trespass and negligent destruction of



                                                    1
Case 9:17-cv-81132-BB Document 1 Entered on FLSD Docket 10/09/2017 Page 2 of 11



 property. These claims arise from the same common nucleus of operative fact as the RESPA

 claim. Accordingly, this Court has supplemental jurisdiction under 28 U.S.C. § 1367 to

 adjudicate these claims. In addition, these claims involve an amount in controversy in excess of

 $75,000, including punitive damages, but excluding interest, attorneys’ fees, and costs. Because

 there is complete diversity of citizenship between the parties, and the amount in controversy

 exceeds the minimum threshold for diversity jurisdiction, this Court also has diversity

 jurisdiction over the state law claims pursuant to 28 U.S.C. §1332.

               II. GENERAL ALLEGATIONS COMMON TO ALL COUNTS

        4.      Plaintiff previously owned a home located in Boca Raton, Florida that was subject

 to a mortgage. At all material times, this property was Plaintiff’s primary residence. Also, at all

 material times, Wells Fargo was the servicer for Plaintiff’s mortgage loan. However, the subject

 mortgage loan belongs the Federal National Mortgage Association, also known as “Fannie Mae”

 or “FNMA.” This entity will be referred to hereafter as “Fannie Mae.”

        5.      Plaintiff’s mortgage loan is a “federally related mortgage loan” as that term is

 defined by 12 U.S.C. § 2602 (1).

        6.      Wells Fargo is a mortgage servicer that services federally related mortgage loans.

 It is one of the larger mortgage servicers in the nation, and therefore cannot avail itself of some

 of the regulatory exemptions and limitations that apply to small servicers. Wells Fargo is

 therefore obligated to comply with all requirements established by the RESPA, and its

 implementing regulation (“Regulation X”), including but limited to the provisions of Regulation

 X found in 12 C.F.R. § 1024.41 relating to loss mitigation.

        7.       Wells Fargo previously brought a foreclosure lawsuit against Plaintiff in the

 Circuit Court for the 15th Judicial Circuit in and for Palm Beach County, Florida.



                                                   2
Case 9:17-cv-81132-BB Document 1 Entered on FLSD Docket 10/09/2017 Page 3 of 11



        8.      Plaintiff retained counsel and defended the foreclosure lawsuit.

        9.      While the foreclosure was pending, Plaintiff submitted a loss mitigation

 application to Wells Fargo in an effort to resolve the asserted default and avoid foreclosure.

        9.      On or about October 17th, 2014 Plaintiff submitted documents that Wells Fargo

 had requested making his application a “complete loss mitigation application” as defined by 12

 C.F.R. § 1024.41(c).

        10.     At the time that Plaintiff’s loss application became “complete” no foreclosure sale

 relating to the property had been scheduled.

        11.     Wells Fargo continued to prosecute the foreclosure action while the complete loss

 mitigation application was pending. Wells Fargo ultimately declined to offer Plaintiff a loss

 mitigation alternative.

        12.     On more than one occasion while the foreclosure litigation was pending and while

 Plaintiff was in lawful possession of the property, agents of Wells Fargo acting at Wells Fargo’s

 direction, unlawfully broke into Plaintiff’s home, removed his personal property from the home,

 and changed the locks thereby depriving Plaintiff of access to the property.


        III. COUNT I – VIOLATION OF RESPA/REGULATION X LOSS MITIGATON
          REQUIREMENTS PROTECTING BORROWER’S FROM FORECLOSURE
     JUDGEMENTS WHILE A COMPLETE LOSS MITIGATION APPLICATION IS
                                  PENDING

        13.     Plaintiff re-alleges and incorporates by reference the allegations found in

 Paragraphs 1 through 12 above.

        14.     RESPA provides that it is unlawful for a mortgage servicer to, inter alia, “fail to

 comply with any other obligation found by the Bureau of Consumer Financial Protection, by




                                                  3
Case 9:17-cv-81132-BB Document 1 Entered on FLSD Docket 10/09/2017 Page 4 of 11



 regulation, to be appropriate to carry out the consumer protection purposes of this chapter.” 12

 U.S.C. §2605(k)(E).

        15.     The Bureau of Consumer Financial Protection also known as the Consumer

 Financial Protection Bureau or “CFPB” has promulgated regulations relating to “loss mitigation”

 found at 12 C.F.R. §1024.41. Pursuant to the authority that RESPA grants, the CFPB has

 promulgated §1024.41(a), which expressly authorizes a borrower to bring a private cause of

 action whenever that borrower has been damaged by a servicer’s violation of any part of

 §1024.41.

        16.     Relevant here, §1024.41(g) provides that, where a borrower submits a complete

 loss mitigation application at least 37 days before a foreclosure sale, “the servicer shall not move

 for a foreclosure judgment or sale” until the borrower’s loss mitigation application has been

 decided and any related appeals resolved.

        17.     The CFPB’s official commentary to §1024.41(g) provides1:



                1. DISPOSITIVE MOTION.

                The prohibition on a servicer moving for judgment or order of sale
                includes making a dispositive motion for foreclosure judgment,
                such as a motion for default judgment, judgment on the pleadings,
                or summary judgment, which may directly result in a judgment of
                foreclosure or order of sale. A servicer that has made any such
                motion before receiving a complete loss mitigation application has
                not moved for a foreclosure judgment or order of sale if the
                servicer takes reasonable steps to avoid a ruling on such motion or
                issuance of such order prior to completing the procedures required
                by § 1024.41, notwithstanding whether any such action
                successfully avoids a ruling on a dispositive motion or issuance of
                an order of sale.


 1
  The official interpretation is available at the CFPB’s website.
 https://www.consumerfinance.gov/eregulations/1024-41/2015-18239#1024-41-h (Last visited
 October 6th, 2017).
                                                  4
Case 9:17-cv-81132-BB Document 1 Entered on FLSD Docket 10/09/2017 Page 5 of 11




                (Id.)


                3. INTERACTION WITH FORECLOSURE COUNSEL

                A servicer is responsible for promptly instructing foreclosure
                counsel retained by the servicer not to proceed with filing for
                foreclosure judgment or order of sale, or to conduct a foreclosure
                sale, in violation of § 1024.41(g) when a servicer has received a
                complete loss mitigation application, which may include
                instructing counsel to move for a continuance with respect to the
                deadline for filing a dispositive motion.

                (Id.)


        18.     Thus, under §1024.41(g) mortgage servicers have an affirmative obligation under

 §1024.41(g) to ensure that the attorneys representing them in foreclosure litigation take

 affirmative measures to avoid the entry of a final foreclosure judgment while a timely loss

 mitigation application is either pending, or under review due to the filing of a timely appeal.

        19.     On October 27th, 2014, Wells Fargo generated letters advising Plaintiff that his

 loss mitigation application been denied. Notably, these letters provided little information about

 the reason for this decision and did not provide information that §1024.41, and related CFPB

 commentary, requires. Furthermore, Wells Fargo continued to refuse provide this information

 even after Plaintiff’s counsel representing him in the foreclosure litigation affirmatively

 requested the missing information explaining the basis for the denial of the loss mitigation

 application. Accordingly, it is not confident that Wells Fargo ever conducted a bona fide

 evaluation of his loss mitigation application. Plaintiff reserves the right to assert appropriate

 additional claims if discovery reveals that Wells Fargo failed to evaluate his application in the

 manner that RESPA and Regulation X require.

        20.     Plaintiff timely appealed Wells Fargo’s denial of his loss mitigation application.

                                                   5
Case 9:17-cv-81132-BB Document 1 Entered on FLSD Docket 10/09/2017 Page 6 of 11



          21.    Before Plaintiff’s application became “complete” a foreclosure trial had been

 scheduled to take place on October 30th, 2014.

          22.    Although Wells Fargo failed to take any affirmative measures to avoid the

 foreclosure trial, Plaintiff, through counsel, did ask the state court to continue that trial on the

 grounds that the federal policy embodied in §1024.41 required the completion of the loss

 mitigation process before the entry of a foreclosure judgment.

          23.    Far from taking affirmative measures to avoid the trial, counsel for Wells Fargo

 actively opposed the requested continuance, thereby placing Wells Fargo in violation of its

 obligations under §1024.41(g), as interpreted by the CFPB’s commentary cited in Paragraph 17

 above.

          24.    Over Wells Fargo’s objection, the state court granted Plaintiff’s request and

 continued the trial.

          25.    Wells Fargo’s violation of §1024.41(g) increased Plaintiff’s expenses incurred in

 connection with the foreclosure litigation, including but limited to causing him to incur the

 expense associated with a court reporter to record the October 30th, 2017 proceedings and

 produce a transcript. Plaintiff’s counsel was aware, in advance of the hearing, that counsel for

 Wells Fargo would oppose the continuance. If Wells Fargo had filed an appropriate motion, or

 joined Plaintiff’s motion seeking the continuance, the related costs for the court reporter, or the

 transcript, of the October 30th proceedings, could have been avoided.

          26.    There were two law firms representing Wells Fargo in the foreclosure litigation.

 Both of these law firms handled a very large number of foreclosure matters for Wells Fargo

 during the year 2014. It is therefore reasonable to infer that each of these law firms were

 involved in more than five foreclosure cases where borrowers had submitted complete loss



                                                    6
Case 9:17-cv-81132-BB Document 1 Entered on FLSD Docket 10/09/2017 Page 7 of 11



 mitigation applications between the January 10th, 2014 effective date of the loss mitigation

 related requirements of RESPA, and October 30th, 2014 - the date of the RESPA violation in the

 case at bar. However, counsel representing Wells Fargo in the foreclosure litigation

 demonstrated by their affirmative opposition to Plaintiff’s efforts to obtain a continuance, that

 they were unfamiliar with foreclosure counsel’s obligations. Accordingly, it must be inferred

 that Wells Fargo failed to appropriately inform counsel of these requirements as mandated by

 §1024.41(g) and the related commentary. Thus, Wells Fargo’s violation of §1024.41(g) in this

 case constitutes a pattern and practice of non-compliance with Wells Fargo’s obligations.

 Plaintiff is therefore entitled to an award of statutory damages in the amount of $2000.

         27.     In addition to actual pecuniary damages and statutory damages, Plaintiff is also

 entitled to an award of emotional distress damages in connection with the RESPA violation.

         28.     Pursuant to the attorney fee and cost shifting provisions found in 12 U.S.C.

 §2605(f), Plaintiff also seeks an award of prevailing party attorneys’ fees.

         WHEREFORE, Plaintiff demands trial by jury and respectfully requests that this

 Honorable Court enter final judgment in the total amount of his damages as determined at trial,

 including statutory damages, together with an award of prevailing party attorneys’ fees and

 litigation costs.


                         IV. COUNT II – TRESPASS TO REAL PROPERTY

         29.     Plaintiff re-alleges and incorporates by reference the allegations found in

 Paragraphs 1 through 12.

         30.     This is an action for damages, including punitive damages, in excess of $75,000,

 brought under the common law of the State of Florida.




                                                   7
Case 9:17-cv-81132-BB Document 1 Entered on FLSD Docket 10/09/2017 Page 8 of 11



        31.     As the mortgage servicer for a secured party, Wells Fargo had a non-delegable

 duty under section 679.606 Florida Statutes to ensure that no non-judicial effort to obtain

 possession of the collateral for the mortgage that it serviced involved a breach of the peace.

        32.     On or about March 3rd, 2015, persons acting on behalf of Wells Fargo and its

 direction broke into Plaintiff’s property and changed the locks, thereby depriving him of access.

 At the time, Plaintiff was still in lawful possession of the property.

        33.     Counsel representing Wells Fargo were immediately notified of the intrusion, and

 agreed to take remedial measures.

        34.     But only three days later on March 6th, 2015, persons acting on behalf of Wells

 Fargo and its direction once again broke into Plaintiff’s property and changed the locks, thereby

 depriving him of access a second time. At the time, Plaintiff was still in lawful possession of the

 property.

        35.     The repeated breaking and entering into Plaintiff’s home, done at Wells Fargo’s

 request and on its behalf, constitutes a breach of the peace.

        36.     The individuals acting on Wells Fargo’s behalf repeatedly and forcibly intruded

 into Plaintiff’s home, even after counsel presumably advised Wells Fargo that it was not entitled

 to possession of the property at the time. Wells Fargo and those acting on its behalf engaged in

 conduct that constitutes “gross negligence” as that term is defined by section 768.72(2)(b), or

 alternatively “intentional misconduct” as that term is defined by 768.72(2)(a).

        37.     Wells Fargo, and the individuals who acted on its behalf, repeatedly and forcibly

 intruded into Plaintiff’s home. By doing so, Wells Fargo and the individuals who acted on its

 behalf engaged in conduct that constitutes either a reckless disregard of Plaintiff’s right to




                                                   8
Case 9:17-cv-81132-BB Document 1 Entered on FLSD Docket 10/09/2017 Page 9 of 11



 peacefully occupy the property, or an intentional violation of that right. In either event, an award

 of punitive damages is appropriate.

          WHEREFORE, Plaintiff demands trial by jury and respectfully requests that this

 Honorable Court enter final judgment in his favor in the total amount of his damages as

 determined at trial, including punitive damages, together with an award of taxable litigation

 costs.

                      V - COUNT III – TRESPASS TO PERSONAL PROPERTY

          38.    Plaintiff re-alleges and incorporates by reference the allegations found in

 Paragraphs 1 through 12.

          39.    This is an action for damages, including punitive damages, in excess of $75,000,

 brought under the common law of the State of Florida.

          40.    As the mortgage servicer for a secured party, Wells Fargo had a non-delegable

 duty under section 679.606 Florida Statutes, to ensure that no non-judicial effort to obtain

 possession of any collateral related to the mortgage that it serviced involved a breach of the

 peace.

          41.    The repeated breaking and entering into Plaintiff’s home, done at Wells Fargo’s

 request and on its behalf described in Paragraphs 30-32 above, constitutes a breach of the peace.

          42.    On or about March 3rd, 2015 and again on March 6th, 2015, individuals acting on

 behalf of Wells Fargo entered Plaintiff home and removed personal property that he had inside.

          43.    Prior to its wrongful removal, the property that was removed by individuals acting

 on Wells Fargo’s behalf was in Plaintiff’s possession.

          44.    The individuals who removed Plaintiff’s property from his home intentionally

 interfered with Plaintiff’s chattels, without justification.



                                                    9
Case 9:17-cv-81132-BB Document 1 Entered on FLSD Docket 10/09/2017 Page 10 of 11



           45.    Additional personal property was removed from Plaintiff’s home on March 6th,

  2015. By that point in time, Wells Fargo’s counsel had presumably advised Wells Fargo that it

  did not have the right to enter Plaintiff’s home or to remove his property.

           46.    The individuals operating on Wells Fargo’s behalf and at its instruction,

  repeatedly and forcibly removed Plaintiff’s property after breaking into his home. This

  continued to happen even after counsel presumably advised Wells Fargo that it was not entitled

  to possession of the property at the time, or to remove personal property found therein. The

  individuals who broke into Plaintiff’s property’s conduct is attributable to Wells Fargo, and

  constitutes “gross negligence” as that term is defined by section 768.72(2)(b), or alternatively

  “intentional misconduct” as that term is defined by 768.72(2)(a).

           47.    Wells Fargo, and the individuals acting on its behalf, behaved in a manner that

  constitutes either a reckless disregard of Plaintiff’s right to peacefully occupy the property at that

  point in time, or an intentional violation of that right. In either event, an award of punitive

  damages is appropriate.

           WHEREFORE, Plaintiff demands trial by jury and respectfully requests that this

  Honorable Court enter final judgment in his favor in the total amount of his damages as

  determined at trial, including punitive damages, together with an award of taxable litigation

  costs.

                              VIII. DEMAND FOR TRIAL BY JURY

           48.    Plaintiffs herby demands trial by jury on all claims so triable. Because Wells

  Fargo is not a party to the mortgage contracts, it may not assert the contractual jury trial waiver

  on its own behalf.




                                                   10
Case 9:17-cv-81132-BB Document 1 Entered on FLSD Docket 10/09/2017 Page 11 of 11




                         Respectfully Submitted,

                         THE LAW OFFICES OF JEFFREY N. GOLANT, P.A.

                         1999 N. UNIVERSITY DRIVE
                         CORAL SPRINGS, FL 33071
                         Phone: (954) 942-5270
                         Fax: (954) 942-5272
                         E-mail: jgolant@jeffreygolantlaw.com
                         By: /S/ JEFFREY N. GOLANT, ESQ.
                         Fla. Bar. No. 0707732
                         Counsel for Plaintiffs Raymond Loycano




                                         11
